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Exhibit 1
Case 2:22-cv-10545-JEL-APP ECF No. 1-1, PagelD.6 Filed 03/15/22 Page 2 of 10

 

inal - Cou 2nd Copy - Plaintiff
AveronedSGAO con: Dotendant Sel Gore Rebar
STATE OF MICHIGAN CASE NO.
THIRD JUDICIAL CIRCUIT SUMMONS 22-001 777-CD
WAYNE COUNTY Hon.John H. Gillis, Jr.

 

 

 

Court address : 2 Woodward Ave., Detroit MI 48226 Court telephone no.: 313-224-5243

Plaintiffs name(s), address(es), and telephone no{s)

 

Defendant's name(s), address(es), and telephone no(s).

 

 

Newsome, Kathteen Vv
Vehi-Ship LLC
310 East Interstate 30
Plaintiffs attommey, bar no., address, and telephone no Suite 316B

 

Caitlin E. Mathiot 76606 Garland, TX 75043
1300 Broadway, Fifth Floor
Detroit, MI 48226

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with
your complaint and, if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.

 

 

 

 

Domestic Relations Case
O There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or family

members of the person(s) who are the subject of the compiaint.
C7 There is one or more pending or resolved cases within the Jurisdiction of the family division of the circuit court Involving the family or
family members of the person(s) who are the subject of the complaint. | have separately filed a completed confidential case inventory

(form MC 21) listing those cases.
CI itis unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family

or family members of the person(s) who are the subject of the complaint.

Civil Case
(1 This is a business case in which alt or part of the action includes a business or commercial dispute under MCL 600.8035

(1 MOHHS and a contracted health plan may have a right to recover expenses in this case. { certify that notice and a copy of the
complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).

CJ There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint.
CA civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

Court,

 

been previously filed in C2 this court, O

where it was given case number and assigned to Judge .

The action 0 remains (1 is no longer pending.

Summons section completed by court clerk.

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:

1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and serve a

copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were served outside

this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded in the

complaint.
4, Ifyou require special accommodations to use the court because of a disability or if you require a foreign language interpreter to help

you fully participate In court proceedings, please contact the court immediately to make arrangements.

 

 

 

Issue date Expiration date* Court clerk
2/14/2022 §/16/2022 Angila Mayfield
Cathy M. Garrett- Wayne County Clerk.

 

“This summons is invatid unless served on or before its expiration date. This document must be sealed by the seal of the court.

MC 04 (9/19) SUMMONS MCR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105

 

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SUMMONS
Case No. : 22-001777-CD

 

 

| PROOF OF SERVICE

TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date of

expiration on the order for second summons. You must make and file your retum with the court clerk. If you are unable to complete
service you must retum this original and all copies to the court clerk.

 

[ CERTIFICATE / AFFIDAVIT OF SERVICE /NONSERVICE __|

(C) OFFICER CERTIFICATE OR [] AFFIDAVIT OF PROCESS SERVER

! certify that | am a sheriff, deputy sheriff, bailiff, appointed

Being first duly sworn, | state that | am a legally competent
court officer, or attorney for a party (MCR 2.104{A][{2}), and adult, and | am not a party or an officer of a corporate party
that: (notarization not required) (MCR 2.103{A]), and that: (notarization required)

Dt served personally a copy of the summons and complaint.

 

Cit served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
together with

List all documents served with the Summons and Complaint

 

on the defendant(s):

 

Defendant's name

Complete address(es) of service Day, date, time

 

 

 

 

 

Ot have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s) and
have been unable to complete service.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[ Defendants name Complete address(es) of service Day, date, time

! declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the best of my

information, knowledge, and belief.
Service fee Miles traveled Fee Signature

$ $ $
Incorrect address fee | Miles traveled Fee Total fee Name (type or print)
$ $
$
Title
Subscribed and sworn to before me on ' County, Michigan.
Date

My commission expires:

 

Signature:
Date

 

Deputy court clerk/Notary public
Notary public, State of Michigan, County of

 

[ ACKNOWLEDGMENT OF SERVICE |

| acknowledge that I have received service of the summons and complaint, together with

 

Attachments
on
Day, date, time

; on behalf of
Signature

 

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STATE OF MICHIGAN

WAYNE COUNTY CIRCUIT COURT

KATHLEEN NEWSOME,
Plaintiff,
Case No: -CD
VS. Honorable
VEHI-SHIP, LLC
Defendant.

 

CAITLIN E. MALHIOT (P76606)
JONATHAN R. MARKO (P72450)
2 MARKO LAW, PLLC
5 Attomey for Plaintiff
i 1300 Broadway, 5th Floor
Detroit, Michigan 48226
313-777-7529

cait@markolaw.com

 

There is no other civil action between these parties arising out of the
same transaction or occurrence as alleged in this Complaint pending in
this Court, nor has any such action been previously filed and dismissed
or transferred after having been assigned to a judge, nor do I know of
any other civil action, not between these parties, arising out of the same
transaction or occurrence as alleged in this Complaint that is either
pending or was previously filed and dismissed, transferred or

otherwise disposed of after having been assigned to a Judge in this
Court.

1300 BROADWAY ST.} STH FLOOR
DETAOIT Ml 48226

 

P: (33) y77-7LAW
F:(393) 771-5785

 

E Cathy M. Garrett WAYNE County CLERK 9/44/2022 3:37 PM Angila Mayfield

COMPLAINT
NOW COMES the Plaintiff, Kathleen Newsome, by and through her attorneys, MARKO
LAW, PLLC, and for her Complaint against the above-named Defendant, states as follows:

JURISDICTION AND VENUE

1. Plaintiff Kathleen Newsome is a female Tesiding in the County of Wayne,

iM) MARKO LAW

State of Michigan.

 

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i-Ship, LLC is a foreign profit corporation with its principal

 

 

2. Defendant Veh
place of business is in the County of Wayne, State of Michigan.
3. The amount in controversy greatly exceeds this Court’s jurisdictional
requirement.
FACTUAL ALLEGATIONS
4. Newsome, by reference, incorporates the preceding paragraphs of her
Complaint as though fully set forth herein.
Newsome began her working relationship with Defendant on or about

5.

March 1, 2019.
Defendant misclassified Newsome as an independent contractor.

6.

MARKOLAW cou

7. Throughout the working relationship between Newcome and Defendant,
Defendant was Newsome’s legal employer as a matter of law.
Newsome was dependent on Defendant as a matter of economic reality.

8.
Defendant affected the terms, conditions, and/or privileges of Plaintiff's

9.

1300 BROADWAY ST.1 STH FLOOR
OETROIT. Mi 48226

employment.

10.

Defendant controlled Newsome’s work environment, directed her work, did
not allow her to subcontract her work, determined the hours she would work and the

 

manner in which she was to perform the work, and acted in all ways as her employer.

P: 313) 777-71A
0393) 271-5785

11. During her employment with Defendant Newsome was subjected to sexual

harassment.
Newsome’s supervisor, Howard Johnson, ordered Newsome to allow him

12.
to take nude photos of her and threatened to terminate her employment if she failed to do

So.

WM) MARKO Law

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Case

or, Howard Johnson, restrained Newsome and groped

13. | Newsome’s supervis

her vagina over her clothing.
ade numerous inappropriate

14. | Newsome’s supervisor, Howard Johnson, m
> and asking for

sexual comments and demands to her, including “let me see that pussy

more nude photos of Newsome.
Newsome complained about Johnson’s inappropriate sexual conduct.

 

 

 

15.
16. Newsome made her opposition to Johnson's inappropriate sexual conduct
known.
3 17. On or about January, 2020, after Newsome opposed the sexual harassment
=
i from her supervisor, Howard Johnson, her employment with Defendant was terminated.
18. | Newsome’s employment was terminated, at least in part, because of her
§ objection to sexual harassment.
& , . .
Ee 19. | Newsome has suffered and continues to suffer emotional distress as a result
£8
; 5 of the severe and pervasive sexual harassment to which she was subjected.
BE
20. | Newsome has suffered and continues to suffer economic damages as a result
of the termination of her employment with Defendant.
Ew
ag : Tones
EE 21. As a result of Defendant’s actions and inactions, Newsome has suffered,
ar
&e : ; ,
ae and will continue to suffer, extensive damages, including but not limited to the following:
= a. Stress;
< b. Humiliation;
O
~ c. Emotional Damages;
<x .
= d. Non-economic damages;
8) e. Economic Damages; and

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¢ Allother injuries to be discovered throughout discovery.

COUNT I- VIOLATION OF MICHIGAN ELLIOTT-LARSEN CIVIL RIGHTS ACT
(Disparate Treatment)

22. Plaintiff re-alleges and incorporates by reference the foregoing paragraphs

as if fully set forth herein.
23. At all material times, Plaintiff was an employee, and Defendant was her
employer, covered by and within the meaning of the Michigan Elliott-Larsen Civil Rights

 

Act, MCL 37.2101, et seq.
Defendant is vicariously liable for the violation of Plaintiff's Rights under

24.
the Michigan Elliott-Larsen Civil Rights Act pursuant to the doctrine of respondeat

a
j

 

superior.
25. Plaintiffs sex and/or race were at least one factor that made a difference in
: Defendant’s treatment of Plaintiff.
Be
i 8 26. Defendant, through its agents, representatives, and employees, was
3
Ze predisposed to discriminate on the basis of sex and/or race and acted in accordance with
that predisposition.
ke 27. Defendant, through its agents, representatives, and employees, treated
EE
#2 Plaintiff differently from similarly situated employees in the terms and conditions of
aa
employment, based on unlawful consideration of sex and/or race.
= 28.  Defendant’s actions were intentional in disregard for Plaintiff's rights and
J « epee
O sensibilities.
“x
mo : 7
< 29. As a direct and proximate result of Defendant’s unlawful actions, Plaintiff
= has sustained and continues to sustain injuries and damages.

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/ COUNT Il- VIOLATION OF MICHIGAN ELLIOTT-LARSEN CIVIL RIGHTS ACT
(Hostile Work Environment)

Plaintiff re-alleges and incorporates by reference the forgoing paragraphs

30.
as if fully set forth within.
31. At all material times, Plaintiff was an employee, and Defendant was her

employers, covered by and within the meaning of the Michigan Elliott-Larsen Civil Rights

Act, MCL 37.2101, et seq.

32. Defendant is vicariously liable for the violation of Plaintiff's Rights under

Michigan Elliott-Larsen Civil Rights Act under the doctrine of respondeat superior.
e verbal and physical conduct due to

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33. Plaintiff was subjected to unwelcom

her sex.

34. The unwelcome conduct complained of was based on Plaintiff's sex.

35. The unwelcome conduct affected a term or condition of employment and/or

of unreasonably interfering with Plaintiff's work performance

1300 BROADWAY ST.} STH FLOOR
DETROIT, Mi 48226

had the purpose or effect

and/or creating an intimidating, hostile or offensive work environment.

 

36.  Asadirect and proximate result of Defendant’s unlawful actions, Plaintiff

has sustained and continues to sustain injuries and damages.

P0313) 777-TLAW
F a 71-5788

COUNT III- VIOLATION OF MICHIGAN ELLIOT-LARSEN CIVIL RIGHTS ACT
(Quid Pro Quo Sexual Harassment)

37. Plaintiff re-alleges and incorporates by reference the forgoing paragraphs

as if fully set forth within.

38. At all relevant times Plaintiff was an employee and Defendant was an

employer covered by and within the meaning of the Michigan Elliott-Larsen Civil Rights

iM) MARKO Law

 

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DETROIT, Mi 48226

PS (313 a77-TLAW
F313) 774-6708

 

Act, MCL 37.2101, et seq.

39. Defendant is vicariously liable for the violation of Plaintiff's Rights under
Michigan Elliott-Larsen Civil Rights Act under the doctrine of respondeat superior.

40. Plaintiff's supervisor made her acceptance of /submission to sexual
harassment a condition of employment with Defendant.

41. The unwelcome conduct affected a term or condition of employment and/or

had the purpose or effect of unreasonably interfering with Plaintiff's work performance

and/or creating an intimidating, hostile or offensive work environment.

42. As a direct and proximate result of Defendant’s unlawful actions, Plaintiff

has sustained and continues to sustain injuries and damages.

COUNT IV- VIOLATION OF MICHIGAN ELLIOT-LARSEN CIVIL RIGHTS ACT
(Retaliation)

43. Plaintiff re-alleges and incorporates by reference the forgoing paragraphs
as if fully set forth within.
44. _ At all relevant times Plaintiff was an employee and Defendant was an

employer covered by and within the meaning of the Michigan Elliott-Larsen Civil Rights

Act, MCL 37.2101, et seq.

45. Defendant retaliated against Plaintiff for asserting her tights under the

Michigan Elliott-Larsen Civil Rights Act, MCL 37.2101, et seq., by terminating her

= employment.
= Ip
oO 46.  Asaresult of Defendant’s retaliatory termination of Plaintiff's employment,
<
pa Plaintiff has suffered and continues to suffer damages.
=
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WHEREFORE, Plaintiff respectfully requests this Honorable Court grant judgment in favor
0

 

 

f Plaintiff and against Defendant in an amount the Court or jury deems just and fair, plus interest,
costs and attomey fees.
v Respectfully subnitted,
/s! Gaitlin E. Malhiot
Caitlin E. Malhiot (P76606)
Jonathan R. Marko (P72450)
MARKO LAW, PLLC
1300 Broadway Street, Fifth Floor
Detroit, M1 48226
Phone: 313-879-0229
3 Email: cait@@markolaw.com
Dated: February 14, 2022
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